     Case:15-60011-EJC Doc#:45 Filed:02/23/17 Entered:02/23/17 14:36:57                                     Page:1 of 2
                           UNITED STATES BANKRUPTCY COURT
                                             Southern District of Georgia

In re:                                                                               Case No.: 15−60011−EJC
Linda F. Hill
       Debtor                                                                        Judge: Edward J. Coleman III
                                                                                     Chapter: 13

 ORDER AND NOTICE OF HEARING ON MOTION TO APPROVE SETTLEMENT AND
                      DISBURSEMENT OF FUNDS

On February 22, 2017 , Debtor, Linda F. Hill , filed a Motion to Approve Settlement and Disbursement of Funds and shows the
following:

Debtor filed a voluntary petition for relief under Chapter 13 of the Bankruptcy Code on January 9, 2015.
Debtor's vehicle was involved in a motor vehicle accident on or about January 29, 2017, which caused a total loss of her 2012
Chrysler 200.
Portfolio Recovery Associates, LLC has a first in priority lien on the 2012 Chrysler 200 and is being paid by the Chapter 13
Trustee pursuant to the terms of the confirmed plan.
Progressive Casualty Insurance Company (claim number 17−1605010−02) has determined that the vehicle is a total loss and is
willing to settle the property damage claim for a net settlement of $9,476.83.
Debtor wishes to settle the insurance claim for $9,476.83.
Debtor wishes that Portfolio Recovery Associates, LLC be paid the balance of $8,778.01 which represents the secured portion
of the claim to which it is entitled pursuant to the Chapter 13 Plan.
Debtor requests that Portfolio Recovery Associates, LLC release the lien on the title and forward it to Progressive Casualty
Insurance Company, and that the secured portion of the claim of Portfolio Recovery Associates, LLC (Claim #4) be reduced to
the amount already paid.
Debtor proposes that the excess funds of the settlement in the amount of $698.82 to be paid to the Chapter 13 Trustee.
Wherefore, Debtor respectfully requests that she be allowed to settle the property damage claim and for the funds to be
disbursed as set forth above.

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IT IS HEREBY ORDERED that all parties shall show cause in writing on or before March 13, 2017, and serve a copy on
Kimberly S. Ward, P.O. Box 1064, Statesboro, GA 30459 why motion should not be granted as outlined above, and urge any
objections at a hearing which will be held to consider this Motion on:

                                                March 15, 2017 , at 09:00 AM
                                       U. S. Courthouse, 52 N. Main St., Statesboro, GA

FURTHER ORDERED, any creditor claiming a lien on said property shall appear at the hearing with records sufficient to
document such claim.




                                                                 Edward J. Coleman III
    Case:15-60011-EJC Doc#:45 Filed:02/23/17 Entered:02/23/17 14:36:57      Page:2 of 2
                                           United States Bankruptcy Judge
                                           125 Bull St, Rm 213
                                           P.O. Box 8347
                                           Savannah, GA 31412

Dated February 23, 2017

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